
PER CURIAM.
Granted in part. Defendant’s sentence is amended to delete the denial of diminution of sentence for good behavior under La.R.S. 15:571.3(C). See State v. Narcisse, 97-3161, p. 1 (La.6/26/98), 714 So.2d 698, 699 (Department of Corrections lacks authority to deny diminution of sentence for good behavior on a sentence imposed for a crime enumerated in La. R.S. 15:571.3(0(1), “in a case in which the trial court has not formally adjudicated and sentenced the defendant as a multiple offender under the provisions of La.R.S. 15:529.1.”); see La.R.S. 15:571.3(0(2) and (3). In all other respects, the application is denied.
